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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

VICTORIA LYNN CANTALES,             )
                                    )
       Plaintiff,                   )
                                    )               CIVIL ACTION
v.                                  )               FILE NO.:  __________________
                                    )
FLANIGAN’S ENTERPRISES, INC.        )
OF GEORGIA d/b/a MARDI GRAS,        )
and GREG PHIFER, in his individual  )               JURY TRIAL DEMANDED
capacity,                           )
                                    )
       Defendants.                  )
____________________________________)

                                        COMPLAINT

       The Plaintiff, VICTORIA LYNN CANTALES (hereafter “Plaintiff”), by and through her

undersigned counsel, hereby files this Complaint against FLANIGAN’S ENTERPRISES, INC. of

GEORGIA d/b/a Mardi Gras (hereafter “Flanigan’s”) and GREG PHIFER (hereafter “Phifer”)

(collectively referred to as “Mardi Gras” or “Defendants”), and shows this honorable Court as

follows:

                                      INTRODUCTION

   1. Plaintiff worked within the past three years for Mardi Gras as an adult entertainer.

   2. Defendant Flanigan’s owns and operates a strip club in Fulton County, Georgia known as

       “Mardi Gras.”

   3. Defendant Phifer is the chief executive officer, chief financial officer, and secretary of

       Defendant Flanigan’s.
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4. Mardi Gras misclassified Plaintiff as an independent contractor and failed to pay her the

   minimum wage and overtime wage for all hours worked in violation of 29 U.S.C. §§ 206

   and 207 of the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (hereafter “FLSA”).

5. Mardi Gras also required the Plaintiff to make certain payments, fees, and fines to Mardi

   Gras and its employees and others which caused her wages to drop below the minimum

   wage and applicable overtime wage, thereby constituting an unlawful “kickback” under

   the FLSA.

6. Mardi Gras required Plaintiff to contribute to an unlawful tip pool which caused Plaintiff’s

   wages to drop below the minimum wage and applicable overtime wage.

7. As a result of Mardi Gras’ violation of the FLSA, Plaintiff seeks unpaid minimum and

   overtime wages, including recovery of unlawful deductions as part of the wage loss,

   liquidated damages, interest, and attorneys’ fees and costs pursuant to 29 U.S.C. § 216.

                                        PARTIES

8. Plaintiff is a resident of Marietta, Cobb County, Georgia, and by filing this action has

   consented to the jurisdiction and venue of this Court. Plaintiff was, at all times relevant to

   this action, an “employee” of Mardi Gras as defined by the FLSA at 29 U.S.C. § 203(e)(1).

9. Defendant Flanigan’s is a Georgia for-profit corporation that owns and operates a strip club

   within this judicial district located at 6300 Powers Ferry Road NW, Sandy Springs, Georgia

   30339 in Fulton County, Georgia, and may be served with process via its registered agent

   Cary Wiggins at 260 Peachtree Street NW, Suite 401, Atlanta, Georgia 30303. At all times

   mentioned herein, Defendant Flanigan’s was an “employer” of Plaintiff within the meaning

   of the FLSA. 29 U.S.C. § 203(d) and (g).


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10. Defendant Phifer is the CEO, CFO and secretary of Defendant Flanigan’s, and may be

   served with process at his business address as listed on the Georgia Secretary of State’s

   website at 6300 Powers Ferry Road NW, Sandy Springs, Georgia 30339. Defendant Phifer

   acted directly or indirectly on behalf of Defendant Flanigan’s, and at all times mentioned

   herein, was an “employer” of Plaintiff within the meaning of the FLSA. 29 U.S.C. § 203(d)

   and (g).

                             JURISDICTION AND VENUE

11. This Court has jurisdiction over the subject matter of this action under 28 U.S.C. § 1331

   because this action arises under the FLSA, 29 U.S.C. § 201 et seq.

12. Venue is proper in this district because all or a substantial portion of the events forming

   the basis of this action occurred in this district. Defendants’ club is located in Fulton

   County, it is physically present in this district, and Plaintiff worked in this district.

                              FACTUAL ALLEGATIONS

13. Plaintiff was employed as an entertainer by Defendants from 2017 to 2018.

14. Defendants misclassified Plaintiff as an independent contractor, failed to pay her any wage,

   and required her to pay to work for Defendants.

15. Defendant Phifer had operational control over Defendant Flanigan’s, and made decisions

   affecting the employment and compensation of Plaintiff.

16. Specifically, Defendant Phifer made the decisions to: (i) misclassify Plaintiff as an

   independent contractor rather than an employee; (ii) not pay her the minimum and overtime

   wage as required by law; and (iii) establish and maintain a practice and policy of charging

   Plaintiff to work for Defendants.


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17. At all times mentioned herein, Flanigan’s was an “enterprise engaged in commerce or in

   the production of goods for commerce” as defined in the FLSA. 29 U.S.C. § 206 (a), and

   has at all times referenced herein had a gross annual revenue in excess of $500,000 per

   year.

18. Plaintiff performed entertainment services for Defendants such as dancing on stage, lap

   dancing, and VIP dancing for Defendants’ customers.

19. Defendants paid Plaintiff no wages whatsoever for these services.

20. Instead, Plaintiff’s only compensation was by way of tips/gratuities paid by Defendants’

   customers.

21. Defendants required Plaintiff to work certain scheduled shifts, and a certain number of

   hours during each shift.

22. Defendants fined Plaintiff for missing, or being late for a shift.

23. Defendants fined Plaintiff for leaving a shift early.

24. Defendants would not allow Plaintiff to leave the premises during her scheduled shifts

   without the permission of management.

25. Defendants or their managers monitored Plaintiff’s dress and appearance at work.

26. Defendants and their managers had the authority to require Plaintiff to change her

   appearance and attire at work.

27. Defendants and their managers in fact required dancers to change their appearance and

   attire at work when they deemed it appropriate.

28. Defendants established and maintained rules, policies, and procedures governing

   entertainers at work.


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29. Defendants’ managers had the authority to suspend, discipline, and terminate entertainers

   for violation of its rules.

30. Entertainers were in fact suspended, disciplined and terminated for violation of

   Defendants’ rules, policies, and procedures.

31. Defendants’ managers, disc jockeys (“DJs”) and “floor men” supervised Plaintiff on a day-

   to-day basis.

32. Defendants required Plaintiff to attend meetings.

33. Defendants used mandatory dancer meetings to discuss problems with dancer dress, hair,

   makeup, weight, and appearance, club promotional efforts, and other work-related issues.

34. Defendants paid all costs associated with operating the club’s business, including but not

   limited to rent, upkeep and maintenance of the facility, utilities, furnishings, costs of food

   and drink and advertising marketing, and promoting the club’s business.

35. Defendants invested significant sums to operate the Club.

36. Defendants’ opportunity for profit and loss from operation of the club far exceeded any

   entertainers’ (including Plaintiff’s) opportunity for profit and loss from dancing at the club.

37. Defendants’ marketing, promotional activities, advertising, and reputation resulted in

   customers’ desire to frequent its club.

38. Defendants target, among other persons, customers from all over the metro Atlanta area by

   advertising nude dancing at the club.

39. Defendants required club customers to pay a “door fee” to enter the business and thus had

   ultimate authority as to which individuals were allowed to enter the club as customers.




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40. Defendants’ managers had the discretion whether or not to allow a dancer, including

   Plaintiff, to perform.

41. Defendants required Plaintiff and each entertainer to dance on stage a certain number of

   sets per shift.

42. Defendants’ various DJs called dancers to dance on stage on a set rotation established by

   Defendants or Defendants’ DJs. These employees could “skip” Plaintiff in that rotation at

   their discretion.

43. Defendants’ various DJs did, in fact, “skip” Plaintiff in the rotation as a means to punish

   her for various reasons including, but not limited to, not paying a sufficient “kick back” to

   the DJ from Plaintiff’s tips.

44. Defendants’ DJ or management decided which music to play in the club, and Plaintiff was

   required to dance to it.

45. Defendants determined where Plaintiff could dance and what she could charge for the

   dance.

46. Defendants exercised exclusive control over the amounts that Plaintiff could charge for

   private dances.

47. Defendants required Plaintiff to pay them various fees each shift from her tips.

48. Defendants required Plaintiff to pay fees to several of Defendants other employees each

   shift, such as DJs and “house moms.”

49. Defendants imposed fines on Plaintiff for failing to appear at work, being late for work,

   missing a dance on stage, or leaving work early.




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50. Some of the duties of Defendants’ managers included ensuring that dancers (including

   Plaintiff) complied with Defendants’ rules and policies.

51. Defendants provided all the equipment necessary for Plaintiff to earn a living at the club,

   such as stages used for dancer performances, poles used for dancing, sound systems, music,

   and lighting.

52. Plaintiff was economically dependent on Defendants for her income.

53. Defendants do not require their dancers to have prior experience as dancers or any formal

   or special training.

54. An entertainer such as Plaintiff was and is generally hired by Defendants based upon

   physical appearance and a willingness to disrobe for Defendants’ customers.

55. Defendants advertised (and continue to advertise) their business by using pictures of

   scantily clad women.

56. The presence of nude dancers was and is integral to Defendants’ business success.

57. In fact, Defendants could not operate their nude dancing club without nude dancers.

58. Plaintiff was at all times pertinent hereto a statutory “employee” of Defendants as that term

   is used in the FLSA, rather than independent contractors, as a matter of economic reality.

59. Defendants were Plaintiff’s statutory “employers” as defined in FLSA § 3(d), 29 U.S.C. §

   203(d).

60. Plaintiffs were not exempt from the minimum wage or overtime requirements of the FLSA.

61. Plaintiff typically worked multiple shifts per week while employed by Defendants. Each

   shift lasted at least seven hours and sometimes as many as nine hours.

62. Defendants paid Plaintiff no wages or other compensation whatsoever.


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    63. Defendants knew of the unlawfulness of or acted with reckless disregard to the lawfulness

       of their misclassification scheme.

    64. Defendants have ignored the law or made no efforts to ascertain whether or not its

       misclassification scheme complied with the law.

    65. This Court and other courts within the Eleventh Circuit have found similar

       misclassification schemes involving adult entertainers unlawful.1

    66. Despite the clear legal precedent in this Circuit, Defendants continue to operate a club

       using the same or similar unlawful labor practices.

    67. Upon information and belief, all the policies and practices established by the Defendants

       for dancers and described herein are still in place at the club. Upon information and belief,

       Defendants continue to operate unlawfully because it is more profitable for them to

       continue violating the law rather than comply with the law.

    68. Upon information and belief, Defendants maintain incomplete records of time worked by

       each entertainer and the amount of deductions each entertainer was required to pay each

       workweek to work at the club.

    69. Upon information and belief, Defendants’ failure to maintain complete records of the time

       worked and amounts paid as fines, tips, gratuities, and service charges violate the record

       keeping requirements of 29 C.F.R. Part 516.


1
 Clincy v. Galardi South Enter., Inc., 808 F. Supp. 2d 1326, 1346 (N.D. Ga. 2011); Stevenson v.
Great American Dream, Inc., 2013 WL 6880921 (N.D.Ga. Dec. 31, 2013); Berry v. Great
American Dream, Inc., 2014 WL 5822691 (N.D.Ga. Nov. 10, 2014); Vaughn v. Paradise Entm’t
Group, Inc., Case No. 14-CV-00914-SCJ, Doc. 190, (N.D.Ga. March 15, 2016); Dean v. 1715
Northside Drive, Inc., No. 1:14-CV-03775-CAP, Doc. 102, (N.D.Ga. January 14, 2017);
Thompson v. 1715 Northside Drive, No. 1:14-CV-390-RWS, at *11 (N.D.Ga. Mar. 30, 2015);
Harrell v. Diamond A Entm’t, Inc., 992 F. Supp. 1343 (M.D. Fla. 1997).
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70. Defendants required (and still require) entertainers, including Plaintiff, to share their tips

   with the club unlawfully.

                                  CLAIM FOR RELIEF

                                       COUNT I
                              MINIMUM WAGE CLAIM
                         (Claim for Violation of 29 U.S.C. § 206)

71. Plaintiff incorporates by reference the allegations in Paragraphs 13-70 above and relies on

   them as if set forth fully herein.

72. Each Defendant is an “employer” of Plaintiff within the meaning of the FLSA. 29 U.S.C.

   § 203(d).

73. Defendants are engaged in “commerce” and/or in the production of “goods” for

   “commerce.”

74. Defendants operate an enterprise engaged in commerce within the meaning of the FLSA,

   29 U.S.C. § 203(s)(1).

75. Defendants failed to pay Plaintiff the minimum wage for each hour worked in violation of

   29 U.S.C. § 206.

76. Defendants required Plaintiff to pay for permits, pay tip outs to various employees as

   described herein, pay house fees and other expenses, and pay fees and fines related to their

   dancing, all of which caused Plaintiffs wages to drop below the minimum wage or

   applicable overtime wage.

77. The required payments were primarily or entirely for the benefit and convenience of

   Defendants.




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78. Plaintiff is entitled to reimbursement for the hours worked and all unlawful deductions,

   fines, and fees pursuant to 29 U.S.C. § 216(b).

79. Based upon the conduct alleged herein, Defendants knowingly, intentionally, and willfully

   violated the FLSA by not paying Plaintiff the minimum wage under the FLSA.

80. Based upon the conduct alleged herein, Defendants knowingly, intentionally, and willfully

   charged to the Plaintiff illegal fines and fees, some or all of which Defendants required

   Plaintiff to pay directly to Defendants other employees.

81. Throughout the relevant period of this lawsuit, Defendants cannot establish that their

   conduct that gave rise to this action was in good faith and based on reasonable grounds.

82. Due to Defendants’ FLSA violations, Plaintiff is entitled to recover from Defendants all

   unpaid minimum wages and an equal amount in the form of liquidated damages, as well as

   recover fines and fees illegally charged to her by Defendants, together with reasonable

   attorneys’ fees and costs of this action, including interest, pursuant to 29 U.S.C. § 216(b).

                               PRAYERS FOR RELIEF

   WHEREFORE, Plaintiff respectfully prays that this Court:

(a) Award Plaintiff judgment for wages at the minimum and overtime rate, as well as

   liquidated damages, interest and attorneys’ fees as provided for under the FLSA;

(b) Award Plaintiff judgment for unpaid wages in the form of unlawful deductions, including

   but not limited to fines, permit fees, tip out fees, house fees and other expenses related to

   her job, as well as liquidated damages in an equal amount, interest and attorneys’ fees as

   provided for under the FLSA;




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   (c) Award Plaintiff all costs of this action permissible under 29 U.S.C. § 216 and 28 U.S.C. §

       1920, including expert fees;

   (d) Grant Plaintiff a jury trial on all issues so triable; and

   (e) Award Plaintiff such other and further relief as the Court may deem just and proper.

       The undersigned counsel certifies that he complied with all local rules pertaining to format

and font.

       Respectfully submitted this 25th day of July, 2018.

                                                     BEGNER & BEGNER, P.C.

                                                     /s/ Eric A. Coffelt
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